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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA, :        CIVIL ACTION
et al.,                       :
                              :        NO. 21-00258
          Plaintiffs,         :
     v.                       :
                              :
EUGENE SCALIA, et al.,        :
                              :
          Defendants.         :


                             O R D E R

          AND NOW, this 28th day of July, 2021, upon

consideration of the Motion for Leave to Withdraw as Counsel

filed by Joseph J. Wardenski, it is hereby ORDERED that the

Motion (ECF No. 29) is GRANTED.

          AND IT IS SO ORDERED.


                                 /s/ Eduardo C. Robreno
                                 EDUARDO C. ROBRENO, J.
